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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

                      Plaintiff,


 Vs.                                           Case No. 17-cr-20183
                                               Hon. Mark A. Goldsmith


 HAROLD LASHAWN NERO (D-5),

                      Defendant.

   _________________________________________________________

          DEFENDANT (D-5) HAROLD NERO’S NOTICE OF JOINDER
            IN CO-DEFENDANT (D-1) DARRICK DENARD BELL’S
                        MOTIONS (Docs. 414-421)

          Defendant (D-5) Harold Nero, represented by attorney Mark H. Magidson,

 files this Notice of Joinder and moves this Honorable Court to accept his

 concurrence with the arguments and relief requested in each of co-defendant (D-1)

 Darrick Denard Bell’s following motions:


       • Doc. 414 - Defendant D-1 Darrick Bell’s Motion for 17c Subpoena to

          Request Video of Travelor’s Motor Lodge;


       • Doc. 415 - Defendant D-1 Darrick Bell’s Motion for Bill of Particulars;


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    • Doc. 416 - Defendant D-1 Darrick Bell’s Motion for a Written Proffer and

       Hearing on Admissibility of Co-Conspirator Statements under FRE

       801(d)(2)(E);


    • Doc. 417 - Defendant D-1 Darrick Bell’s Motion for Pretrial Disclosure of

       All Evidence which the Government Intends to Offer Pursuant to Rule

       404(b) of the Federal Rules of Evidence;


    • Doc. 418 - Defendant D-1 Darrick Bell’s Motion for Pretrial Release

       (Defendant Nero adds that his circumstances are unique, making him

       particularly vulnerable to the Covid-19 virus, because he suffers from a

       severe kidney condition that has required continued doctor’s care and

       at least two hospitalizations while in custody pending trial.);


    • Doc. 419 - Defendant D-1 Darrick Bell’s Motion in Limine to Allow for the

       Cross Examination of Witness Histories of Prostitution and for the

       Government to Proffer FRE 412 Evidence it Seeks to Bar;


    • Doc. 420 - Defendant D-1 Darrick Bell’s Motion to Dismiss Counts 1, 3, 4,

       5, 6, 7, and 8 of the Superseding Indictment;


    • Doc. 421 - Defendant D-1 Darrick Bell’s Motion to Exclude All Irrelevant

       and Prejudicial Evidence Contained on Videos, or in the alternative, to


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       Order the Government to Provide a Foundational Basis for Proposed Video

       Evidence.



                                          Respectfully submitted,
 Date: March 25, 2020
                                          By: /s/Mark H. Magidson
                                            MARK H. MAGIDSON (P25581)
                                            Attorney for Defendant Nero (D-5)
                                            615 Griswold, Suite 810
                                            Detroit, MI 48226
                                              (313) 963-4311
                                             mmag100@aol.com




                            CERTIFICATE OF SERVICE
       I certify that on March 25, 2020, I electronically filed the above Motion in
 Limine with the Clerk of the Court using the CM/ECF system, which will send
 notification of such filing to the parties of record.
                                          By: /s/Mark H. Magidson
                                            MARK H. MAGIDSON (P25581)
                                            Attorney for Defendant Nero (D-5)




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